     Case 4:22-cv-00067-WTM-CLR Document 64 Filed 11/29/22 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


JESSICA HODGES, As natural
guardian of minor children,
L.C. and D.C.; and ESTATE OF
LEE MICHAEL CREELY, By and
through Warren Ratchford, its
Administrator;


      Plaintiffs,

V.                                            CASE NO. CV422-067


CHATHAM COUNTY, GEORGIA;
CORRECTHEALTH CHATHAM LLC;
CORRECTHEALTH, LLC; CARLO MUSSO
M.D.; KAREN FORCHETTE; ALFRED
NEVELS; SELENA CARDONA; TEANNA
FRANCES-HENDERSON; TERENCE
JACKSON; DON WHITE; KARLOS
MANNING; YVETTE BETHEL-QUINNEY;
and JACKIE HARNED;


      Defendants.




                                ORDER


      Before the Court are Plaintiffs Jessica Hodges and Warren

Ratchford's    Stipulations   to   Dismiss   Teanna   Frances-Henderson,

Selena Cardona, and Alfred Nevels. (Docs. 62, 63.) Pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a plaintiff may

dismiss an action by filing "a stipulation of dismissal signed by

all parties who have appeared." ^^Rule 41(a)(1) is [also] a proper

mechanism to dismiss less than all the parties to a controversy."

Jackson v. Equifax     Info. Servs., LLC, No. CV 119-096, 2020 WL

476698, at *1 (S.D. Ga. Jan. 29, 2020).        Because the stipulations
      Case 4:22-cv-00067-WTM-CLR Document 64 Filed 11/29/22 Page 2 of 2




are    signed    by all the         parties    who   have   appeared,   Plaintiffs'

requests       (Docs.   62,    63)    are    GRANTED.   A   dismissal     is   without

prejudice unless a notice or stipulation states otherwise. Fed. R.

Civ. P. 41(a)(1)(B). Here, the parties have not specified whether

the dismissals are with or without prejudice. Defendants Frances-

Henderson, Cardona,           and    Nevels are therefore DISMISSED WITHOUT

PREJUDICE. The Clerk of Court is DIRECTED to amend the case caption

to    remove    Defendants     Frances-Henderson,        Cardona,   and    Nevels   as

defendants in this case.


       SO ORDERED this                day of November 2022.




                                            WILLIAM T. MOORE, JR.
                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN   DISTRICT OF GEORGIA
